                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:01-CR-184-GCM

                                                  )
UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )                   ORDER
                                                  )
ICABOD JOSEPHUS ALLISON                           )
                                                  )



      THIS MATTER is before the Court upon the Defendant’s Motion to Rescind Order
Denying Relief Under 18 USC § 3852(c)(2) and Reconsider After Briefing [doc. 235].

        The Court declines to rescind its order, but will receive briefs. The Defendant may
proceed to file a brief, which must be received by June 9, 2008. The Government is to respond
within 10 days after the filing of defendant’s brief. At that time, the Court will decide whether its
position should be reversed.


       SO ORDERED.                                Signed: May 29, 2008




       Case 3:01-cr-00184-GCM           Document 237         Filed 05/29/08      Page 1 of 1
